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1    ALICE W. WONG, SBN 160141
2
     JERRY L. CHONG, SBN 68757
     LAW OFFICES OF JERRY L. CHONG and ALICE W. WONG
3    6313 Elvas Avenue
     Sacramento, CA 95819
4
     Tel: (916) 443-7398
5    Fax: (916) 443-8941
     awong@jcawlaw.com
6
     Attorneys for Hung The Le
7

8                                UNITED STATES DISTRICT COURT

9                               EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA                     )
11                                                 )
                                                   ) CASE NO. 2:08-CR-00449-02 WBS
12                               Plaintiffs,       )
            vs.                                    )
13                                                 )
                                                   ) ORDER TO
14         HUNG THE LE                             ) EXONERATE BOND
                                                   )
15                                                 )
                                                   )
16                 Defendant.                      )
                                                   )
17                                                 )
                                                   )
18                                                 )
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20
            The Court finds that Defendant HUNG THE LE was released pursuant to a
21
     $100,000.00 bond, comprised of property bond and $16,000.00 cash bond, which he posted to
22

23   the Clerk of the Court on January 16, 2009. On September 6, 2011, Mr. Le entered a guilty

24   plea to counts 1 and 2 of the superseding information. On November 4, 2013, the Court
25
     sentenced Mr. Le to imprisonment for a term of 51 months. Mr. Le surrendered to the Bureau
26
     of Prisons on February 25, 2014.
27
     ///
28
               Case 2:08-cr-00449-WBS Document 268 Filed 03/20/14 Page 2 of 3



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2              Therefore, it is hereby ORDERED that the $100,000.00 bond be exonerated and the

3    Clerk of the Court is directed to reconvey the property bond to the surety, Ung Lieng. See
4
     Exhibit A for Legal Description of Real Property posted on behalf of Mr. Le.
5
               Furthermore, it is hereby ORDERED that the $16,000.00 cash bond posted in this case
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7
     is ordered exonerated and the Clerk of the Court is directed to return the cash bond to the

8    surety.
9              IT IS SO ORDERED.
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11   Dated: March 20, 2014
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          Case 2:08-cr-00449-WBS Document 268 Filed 03/20/14 Page 3 of 3


                                    EXHIBIT A
1

2                                  DESCRIPTION

3
     CITY OF SACRAMENTO
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5
     LOT 469, AS SHOWN ON THE “PLAT OF FRUITRIDGE OAKS LIMIT UNIT NO. 7”,
6    RECORDED IN THE OFFICE OF THE COUNTY RECORDER OF SACRAMENTO
7
     COUNTY ON DECEMBER 2, 1957, IN BOOK 47 OF MAPS, MAP NO. 29.

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